                                  Case 20-11569-LSS                     Doc 1       Filed 06/15/20           Page 1 of 21



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                GSP Properties, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          N/A
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  7000 Hospitality Court
                                  Morrisville, North Carolina 27560
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Wake County                                                       Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)
                                  https://www.pyxusintl.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
     26329050.2
                                       Case 20-11569-LSS                   Doc 1       Filed 06/15/20              Page 2 of 21
Debtor    GSP Properties, LLC                                                                           Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             5313

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9

     A debtor who is a “small                Chapter 11. Check all that apply:
     business debtor” must check                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who
                                                                  $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                      operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                   exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                     Relationship

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
     26329050.2
                                  Case 20-11569-LSS                      Doc 1      Filed 06/15/20            Page 3 of 21
Debtor   GSP Properties, LLC                                                                       Case number (if known)
         Name


                                              District                                 When                             Case number, if known




11. Why is the case filed in      Check all that apply:
    this district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or            No
    have possession of any
    real property or personal         Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                 Yes Insurance agency
                                                          Contact name
                                                          Phone


         Statistical and administrative information

13. Debtor's estimation of        .        Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of               1-49                                            1,000-5,000                                25,001-50,000
    creditors (on a
                                      50-99                                           5001-10,000                                50,001-100,000
    consolidated basis)
                                      100-199                                         10,001-25,000                              More than 100,000
                                      200-999

15. Estimated Assets (on a            $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    consolidated basis)
                                      $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities (on a       $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
    consolidated basis)
                                      $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                      $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
    26329050.2
                                  Case 20-11569-LSS                   Doc 1        Filed 06/15/20             Page 4 of 21
Debtor   GSP Properties, LLC                                                                       Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      06/15/2020
                                                  MM / DD / YYYY


                             X   /s/ Joel Thomas                                                          Joel Thomas
                                 Signature of authorized representative of debtor                         Printed name

                                         Executive Vice President and Chief
                                 Title   Financial Officer




18. Signature of attorney    X   /s/ Pauline K. Morgan                                                     Date 06/15/2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Pauline K. Morgan
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 North King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      pmorgan@ycst.com

                                 DE 3650
                                 Bar number and State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
    26329050.2
                        Case 20-11569-LSS          Doc 1     Filed 06/15/20     Page 5 of 21




                                                      RIDER 1

             PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

                On the date hereof, each of the affiliated entities listed below (including the debtor in this
         chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
         United States Bankruptcy Court for the District of Delaware (the “Court”). A motion will be filed
         with the Court requesting that the chapter 11 cases of these entities be jointly administered for
         procedural purposes only.

                                      Pyxus International, Inc.
                                      Alliance One International, LLC
                                      Alliance One North America, LLC
                                      Alliance One Specialty Products, LLC
                                      GSP Properties, LLC




26329119.1
               Case 20-11569-LSS          Doc 1     Filed 06/15/20     Page 6 of 21




                       GSP PROPERTIES, LLC
   ACTION TAKEN BY UNANIMOUS WRITTEN CONSENT OF THE MANAGERS
                            June 14, 2020

                                            RECITALS

WHEREAS, the undersigned managers (the “Managers”), constituting all of the managers of GSP
Properties, LLC (the “Company”), have consulted with the legal advisors of the Company to fully
consider each of the strategic alternatives available to the Company;

WHEREAS, after consulting with the legal advisors of the Company, in light of entering into
that certain restructuring support agreement, dated as of the date hereof, and considering all
alternatives, the Managers have determined that it is in the best interest of the Company to seek
relief under the provisions of Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”), as taking such action presents the best opportunity to maximize the Company’s
enterprise value;

WHEREAS, the Managers, after such consultation, believe it desirable and in the best interests
of the Company and its creditors, equityholders, and other parties in interest, that a petition be
filed by the Company and by each of the Company’s affiliates listed on Annex I attached hereto
(each, along with the Company, a “Debtor Entity”), seeking relief under the provisions of the
Bankruptcy Code and to undertake other actions related thereto;

WHEREAS, it is proposed that the Debtor Entities enter into a new debtor in possession facility
(the “DIP Facility”) along with certain associated documents and consummate the transactions
contemplated therein and thereby (collectively, the “DIP Facility Transactions”) with such
lenders; and

WHEREAS, in furtherance of the foregoing, the Managers hereby take the following actions
without a meeting by unanimous written consent on behalf of the Company as if such resolutions
had been adopted at a duly convened meeting of the Managers.

                              Commencement of Chapter 11 Cases

NOW THEREFORE, BE IT RESOLVED, that the Managers have determined, after consultation
with certain of the management of Pyxus International, Inc. and the legal advisors of the Company,
that it is desirable and in the best interests of the Company, its creditors, equityholders, and other
parties in interest that a petition be filed by the Company seeking relief under the provisions of
Chapter 11 of Title 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”); and

FURTHER RESOLVED, that any Authorized Person (as defined below) be, and each hereby is,
authorized, empowered, and directed to execute and file in the name and on behalf of the Company
all petitions, schedules, motions, lists, applications, pleadings, and other papers in the Bankruptcy
Court, and, in connection therewith, to engage and retain all assistance by legal counsel,
accountants, financial advisors, investment bankers and other professionals, and to take and
perform any and all further acts and deeds which such Authorized Person deems necessary, proper,
or desirable in connection with the Debtor Entities’ Chapter 11 cases (the “Chapter 11 Cases”),

                                             Page 1 of 5
               Case 20-11569-LSS         Doc 1     Filed 06/15/20     Page 7 of 21




including, without limitation, negotiating, executing, delivering and performing any and all
documents, agreements, certificates and/or instruments in connection with the transactions and
professional retentions set forth in these resolutions, with a view to the successful prosecution of
the Chapter 11 Cases.

                                 Debtor-in-Possession Financing

FURTHER RESOLVED, that the Company as a debtor and a debtor in possession under Chapter
11 of the Bankruptcy Code, shall be, and hereby is, authorized to: (a) enter into, and perform under,
the DIP Facility and the DIP Facility Transactions with such lenders, including without limitation,
borrowings thereunder on such terms substantially consistent with those presented to the Managers
on or prior to the date hereof and as may be further approved, modified or amended by any
Authorized Person, as may be reasonably necessary or desirable for the continuing conduct of the
affairs of the Company; (b) provide indemnities, pay related fees and grant security interests
(including superpriority priming first lien security interests) in and liens and mortgages on some,
all or substantially all of the Company’s assets, in such case, as may be deemed necessary or
desirable by any Authorized Person in connection with the DIP Facility Transactions; and (c)
guarantee any and all obligations with respect thereto; and

FURTHER RESOLVED, that: (a) any Authorized Person be, and each hereby is, authorized and
directed in the name of, and on behalf of the Company, as debtor and debtor in possession, to take
such actions and execute, acknowledge, deliver and verify such agreements, certificates,
instruments, guaranties, swap agreements, notices and any and all other documents as any
Authorized Person may deem necessary or appropriate to consummate or facilitate the DIP Facility
Transactions, including any credit agreement, engagement letter or term sheet (collectively, the
“DIP Facility Documents”); (b) DIP Facility Documents containing such provisions, terms,
conditions, covenants, warranties and representations as may be deemed necessary or desirable by
any Authorized Person are hereby approved; and (c) the actions of any Authorized Person taken
pursuant to this resolution, including the execution, acknowledgement, delivery and verification
of all agreements, certificates, instruments, guaranties, notices and other documents, shall be
conclusive evidence of the Managers’ approval thereof and the necessity or desirability thereof.

                  Plan, Disclosure Statement and Restructuring Documents

FURTHER RESOLVED, that the Company, as a debtor and a debtor in possession under Chapter
11 of the Bankruptcy Code, shall be, and hereby is, authorized to: (a) execute and deliver a Chapter
11 plan having terms substantially consistent with those presented to the Managers on or prior to
the date hereof and as may be further approved, modified or amended by any Authorized Person,
as may be reasonably necessary or desirable for the continuing conduct of the affairs of the
Company and its subsidiaries (the “Plan”), associated disclosure statement (the “Disclosure
Statement”), and any associated documents and solicitation material, and consummate, and
perform under, the transactions contemplated therein as may be further approved, modified or
amended by any Authorized Person, as may be reasonably necessary or desirable for the continuing
conduct of the affairs of the Debtor Entities and their subsidiaries (the “Restructuring
Transactions”); and (b) pay related fees and expenses as may be deemed necessary or desirable by
any Authorized Person in connection with the Plan or Disclosure Statement and the Restructuring
Transactions; and

                                             Page 2 of 5
               Case 20-11569-LSS         Doc 1    Filed 06/15/20      Page 8 of 21




FURTHER RESOLVED, that: (a) any Authorized Person be, and each hereby is, authorized and
directed in the name of, and on behalf of the Company, as a debtor and a debtor in possession, to
take such actions and execute, acknowledge, deliver and verify the Plan and Disclosure Statement,
and such agreements, certificates, notices and any and all other documents as any Authorized
Person may deem necessary or appropriate in connection with the Plan, the Disclosure Statement
and any other related documents, including any engagement letters, commitment letters, fee letter
or other documents in connections with the incurrence of indebtedness contemplated thereby (the
“Restructuring Documents”) and the Restructuring Transactions; (b) the Restructuring Documents
containing such provisions, terms, conditions, covenants, warranties and representations as may
be deemed necessary or desirable by any Authorized Person are hereby approved; (c) any
Authorized Person shall be, and hereby is, authorized and directed in the name of, and on behalf
of the Company, as a debtor and a debtor in possession, to authorize counsel to draft, file and seek
approval of the Restructuring Documents, including approval of the Disclosure Statement and
confirmation of the Plan; and (d) the actions of any Authorized Person taken pursuant to this
resolution, including the execution, acknowledgement, delivery and verification of all
Restructuring Documents and all related agreements, certificates, instruments, guaranties, notices
and other documents, shall be conclusive evidence of such Authorized Person’s approval thereof
and the necessity or desirability thereof.

                                   Retention of Professionals

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage the law firm Simpson Thacher &
Bartlett LLP as general bankruptcy counsel to represent and assist the Debtor Entities in carrying
out their duties under the Bankruptcy Code or in the Chapter 11 Cases and to take any and all
actions to advance the Debtor Entities’ rights and obligations in the Chapter 11 Cases, the
Restructuring Transactions and all related matters, and any such prior actions are hereby ratified
in their entirety;

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage the law firm of Young Conaway
Stargatt & Taylor, LLP as Delaware bankruptcy counsel to represent and assist the Debtor Entities
in carrying out their duties under the Bankruptcy Code or in the Chapter 11 Cases and to take any
and all actions to advance the Debtor Entities’ rights and obligations in the Chapter 11 Cases, the
Restructuring Transactions and all related matters, and any such prior actions are hereby ratified
in their entirety;

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage Prime Clerk LLC, as claims and
noticing agent and administrative advisors in connection with the Chapter 11 Cases, the
Restructuring Transactions and all related matters, and any prior actions taken in connection
therewith are hereby ratified in their entirety;

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage Lazard Frères & Co. LLC , as advisor
in connection with the Chapter 11 Cases, the Restructuring Transactions and all related matters,
and any prior actions taken in connection therewith are hereby ratified in their entirety;

                                            Page 3 of 5
               Case 20-11569-LSS          Doc 1     Filed 06/15/20      Page 9 of 21




FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage RPA Asset Management Services,
LLC, as consultant in connection with the Chapter 11 Cases, the Restructuring Transactions and
all related matters, and any prior actions taken in connection therewith are hereby ratified in their
entirety;

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to engage any other professionals to assist the
Debtor Entities in carrying out their duties under the Bankruptcy Code or in the Chapter 11 Cases,
the Restructuring Transactions and all related matters and to take any and all actions to advance
the Debtor Entities’ rights and obligations; and

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized and
directed in the name and on behalf of the Company to execute appropriate retention agreements,
pay appropriate retainers, and cause to be filed appropriate applications for authority to retain the
services of the foregoing professionals as necessary.

                                       Omnibus Resolutions

FURTHER RESOLVED, that Joel L. Thomas, William L. O’Quinn, Jr. and Lynne Finney, in
addition to any manager or officer of the Company, as the case may be, each acting as an
authorized person of the Company, and in the name and on behalf of the Company (each, an
“Authorized Person”), is hereby authorized to take all actions such Authorized Person deems
necessary or appropriate to cause the Company’s subsidiaries to take all actions such Authorized
Person deems necessary or appropriate to commence and complete the Restructuring
Transactions, the Restructuring Documents, Chapter 11 Cases, the DIP Facility Transactions
(including the provision of guarantees and the grant of security interests under the DIP Facility)
and all related matters and to execute, deliver and file all such further documents, certificates,
notices or instruments as may be required or as such Authorized Person may deem necessary or
appropriate in furtherance of or in connection with each of the foregoing resolutions and to
effectuate fully the purposes and intent thereof;

FURTHER RESOLVED, that any Authorized Person be, and each hereby is, authorized to take
all actions such Authorized Person deems necessary or appropriate to complete the Restructuring
Transactions, the Restructuring Documents, Chapter 11 Cases, the DIP Facility Transactions and
all related matters and to execute, deliver and file all such further documents, certificates, notices
or instruments as may be required or as such Authorized Person may deem necessary or
appropriate in furtherance of or in connection with each of the foregoing resolutions and to
effectuate fully the purposes and intent thereof;

FURTHER RESOLVED, that any and all actions previously taken by any Authorized Person in
furtherance of the transactions and matters authorized or contemplated by the foregoing
resolutions be, and they hereby are, ratified, approved and confirmed in all respects and that said
actions shall have the same force and effect as if they were taken with the prior approval of the
Managers;




                                             Page 4 of 5
              Case 20-11569-LSS          Doc 1    Filed 06/15/20     Page 10 of 21




FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is, authorized,
empowered and directed, in the name and on behalf of the Company, to take such other actions
and to execute, deliver and file all such further documents, certificates, notices or instruments as
may be required or as such Authorized Persons may deem necessary or appropriate in furtherance
of or in connection with each of the foregoing resolutions and to effectuate fully the purposes and
intent thereof, and further, that it be, and it is hereby, confirmed that all such actions taken by
such Authorized Persons are taken by such Authorized Persons as representatives of the Company
and not in their personal capacity; and

FURTHER RESOLVED, that this consent may be executed in one or more counterparts.


                                     [Signature page follows]




                                            Page 5 of 5
Case 20-11569-LSS   Doc 1   Filed 06/15/20   Page 11 of 21
Case 20-11569-LSS   Doc 1   Filed 06/15/20   Page 12 of 21
              Case 20-11569-LSS        Doc 1   Filed 06/15/20   Page 13 of 21


                                           ANNEX I

                                       DEBTOR ENTITIES

Pyxus International, Inc.

Alliance One International, LLC

Alliance One Specialty Products, LLC

Alliance One North America, LLC
                                 Case 20-11569-LSS                   Doc 1         Filed 06/15/20                Page 14 of 21



  Fill in this information to identify the case:
  Debtor name: Pyxus International, Inc., et al.
  United States Bankruptcy Court for the: District of Delaware                                                                                Check if this is an

  Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 30 largest unsecured claims.

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Willis Towers Watson Bob Kalbfell          Insurance Services
  Northeast, Inc.      (914) 274-7499
  200 Liberty Street   robert.kalbfell@Willi
  New York, NY         sTowersWatson.co
  10281                m                                                                                                                                            $5,812,172
  Philip Morris USA Inc.
                       Linwood Sykes         Trade Debt         Contingent
  6601 W Broad Street  Linwood.L.Sykes@a
  Richmond, VA         ltria.com
  23230                Phone
                       (804) 274-2391                                                                                                                               $5,790,282
  China Tobacco        Jiang Nan             Trade Debt
  International (HK)   852 26209500
  19F Greenfield Tower jiangn@ctihk.com.hk
  Concordia,
  Hong Kong
  China                                                                                                                                                             $1,831,397
  KT&G Corporation     Mr. Kweon             Trade Debt
  71 Beotkkot-Gil,     82 42 939 5277
  Daedeok-Gu           youngktg@ktng.com
  Daejeon, 306-712
  South Korea                                                                                                                                                       $1,477,628
  China Tobacco        Wei Yi                Trade Debt
  Guizhou              86 851-85918208
  350 South Fuyuan     wyconni@126.com
  Road
  Guiyang, China                                                                                                                                                    $1,111,500
  Premium Tobacco      Alby Edwards          Trade Debt
  International DMCC   971 44 55 7300
  Plot No W1 Jumeirah alby.edwards@UTS.
  Lake Towers          co.ug
  Dubai, UAE                                                                                                                                                          $643,253
  Chebrolu             Chebrolu              Trade Debt
  Narendranath         Narendranath
  4th Line Rajendra    919618691999
  Nagar, Guntur,       narendra@deltaintec
  522006               h.com
  India                                                                                                                                                               $479,118




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured claims                                 page 1
    26329134.1
                                 Case 20-11569-LSS                   Doc 1         Filed 06/15/20                Page 15 of 21



  Debtor    Pyxus International, Inc., et al.                                                         Case number (if known)
            Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  LA Clinical Trials LLC    Mitchell Nides       Trade Debt
  847 North Hollywood       (818) 526-7645
  Way, Suite 103            mnides@laclinicaltri
  Burbank, CA 91505         als.com                                                                                                                                   $454,285
  Shenzhen Tobacco          Shao Yi              Trade Debt
  Imp/Exp Co Ltd            86 755 25188672
  9-10F., SCT Center        110726887@gg.com
  Shenzhen, 51801
  China                                                                                                                                                               $448,344
  Synchrogenix              Mark Hovde                Trade Debt
  Information               Mark.hovde@certar
  2 Righter Parkway         a.com
  Suite 205
  Wilmington, DE
  19803                                                                                                                                                               $330,576
  Delta Technology          Chebrolu            Trade Debt
  Services                  Narendranath
  4th Line Rajendra         919618691999
  Nagar, Guntur,            narendra@deltaintec
  522006                    h.com
  India.
                                                                                                                                                                      $247,198
  Cardno Chemrisk           Kate Butkins       Trade Debt
  LLC                       (415) 896-2400
  235 Pine Street, Suite    Kate.butkins@cardn
  2300                      o.com
  San Francisco, CA
  94104                                                                                                                                                               $233,882
  JT International SA       John Fotheringham Trade Debt
  Rue Kazem Radjavi 8       41 22 703 0777
  1202 Geneva               john.fotheringham@j
  Switzerland               ti.com
                                                                                                                                                                      $220,176
  Montrose                  Rudy Mitchell       Trade Debt
  Environmental Group       (804) 887-2112
  Inc.                      rudy.mitchell@entha
  1 Park Plaza Suite        lpy.com
  1000,                     804-887-2112
  Irvine, CA 92614
                                                                                                                                                                      $180,965
  Hanchen Tobacco           Jason Kwok        Trade Debt
  (Hong Kong) Ltd           852 2621 4628
  Unit 12-13, 20/F.,        jason@hanchentoba
  North Tower               cco.com
  Kowloon
  China                                                                                                                                                               $167,040
  JV Adams Thai             Wing Chung                Trade Debt
  Royalities                662239818
  5/26 - 29 Saldaeng        wfc@adamsint.com
  Bangkok, 10500
  Thailand                                                                                                                                                            $149,159




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
    26329134.1
                                 Case 20-11569-LSS                   Doc 1         Filed 06/15/20                Page 16 of 21



  Debtor    Pyxus International, Inc., et al.                                                         Case number (if known)
            Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Kaman Industrial          Kermit White      Trade Debt
  Technologies              (252) 292-4118
  4206 Williamson           Kermit.White@kama
  Road,                     n.com
  Wilson, NC 27893                                                                                                                                                    $144,762
  Brenntag Mid-South        Liz Greene         Trade Debts
  Inc.                      (919) 281-2901
  1405 Highway 136          lgreene@brenntag.c
  West                      om
  Henderson, KY
  42420                                                                                                                                                               $124,655
  Trust Tobacco             Zhao Fuyan          Trade Debt
  Industry Import           00856 71 412008
  North No 13 Road,         marketing_dpt@trust
  Ban Xanghai Villa         obacco.com
  Luang Prabang. 6000
  Laos                                                                                                                                                                  $95,575
  SEFCO Finance Inc.        Hasan Aldabagh            Trade Debt
  SAL (Offshore)            9616 611 733
  Saba ZREQ Street
  El-Mahmoud Building,
  2nd Floor
  Tripoli,
  Lebanon                                                                                                                                                               $91,752
  Electric Supply &         336-574-4824       Trade Debt
  Equipment Company         ar@ese-co.com
  1000 Classic Road         pcauthen@ese-
  Apex, NC 27539            co.com                                                                                                                                      $83,496
  Wilson Energy             Customer Service   Trade Debt
  1800 Herring Ave. E       252-399-2200
  Wilson, NC 27893          customerservice@wi
                            lsonnc.org                                                                                                                                  $71,068
  China Tobacco             He Jie             Trade Debt
  Yunnan                    86 871 65116506
  35 Yuantong Street        hej@ctyiec.cn
  Kunming, China                                                                                                                                                        $68,823
  Qliktech Inc.             Trey Meadows              Professional
  25686 Network Place,      (770) 243-9429            Services
  Chicago, IL 60673-        trey.meadows@qlik.
  1256                      com                                                                                                                                         $63,805
  Blueally Technology       Amber Walsh               Professional
  Solutions, LLC            (919) 602-9643            Services
  Suite 300 1255            awalsh@blueally.co
  Crescent Green,           m
  Cary, NC 27818                                                                                                                                                        $63,565
  China Tobacco             Mr. Dai Chao,             Trade Debt
  Hunan Import and          daic0495@163.com
  Export                    86-731-85799382
  17 18F Pride Tower 1
  Huaishu Jie S
  Changsha, 410 007
  China                                                                                                                                                                 $63,000




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
    26329134.1
                                 Case 20-11569-LSS                   Doc 1         Filed 06/15/20                Page 17 of 21



  Debtor    Pyxus International, Inc., et al.                                                         Case number (if known)
            Name

  Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
  complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
  including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                   and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
  Polychem                  Ali Adinaro               Trade Debt
  Corporation               (440) 357-1500
  6277 Helsley Road
  Mentor, OH 44060
                                                                                                                                                                        $59,276
  Hauni Richmond, Inc.      Fernando Nero             Trade Debt
  2800 Charles City         804-236-5224
  Road,                     fernando.nero@hau
  Richmond, VA              ni.com
  23231                                                                                                                                                                 $46,735
  Tobacco Technology,       Ayse Adams                Trade Debt
  Inc.                      410-549-8800 -
  600 Liberty Road          Office
  Eldersburg, MD            aadams@tobaccote
  21784                     ch.com                                                                                                                                      $44,523
  Carolina Coastal          Brad Welch                Trade Debt
  Supply, LLC               984-235-4905
  112 Franklin Park
  Drive
  Youngsville, NC
  27596                                                                                                                                                                 $44,167




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 4
    26329134.1
                           Case 20-11569-LSS           Doc 1      Filed 06/15/20        Page 18 of 21




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                    §
         In re:                                                     §     Chapter 11
                                                                    §
         PYXUS INTERNATIONAL, INC., et al.,1                        §
                                                                    §     Case No. 20-_______(__)
                                       Debtors.                     §
                                                                    §     (Joint Administration Requested)
                                                                    §
                                                                    §

              CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT TO
               FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(1) AND 7007.1

                  Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

         the above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively, the

         “Debtors”) hereby state as follows:

                  1.       The following is a list of all corporations, other than governmental units, that

         directly or indirectly own 10% or more of any class of interests in Pyxus International, Inc:

                                                                                                  Approximate
                       Shareholder                      Address of Shareholder                 Percentage of Shares
                                                                                                      Held
                                                  PO Box 20
                                                  Bowling Green Station
                                                  New York, New York
         Cede & Co.                               10004-1408                                                     98.97%

                  2.       The Debtors listed below are 100% owned by Pyxus International, Inc:

                          Alliance One Specialty Products, LLC; and

                          Alliance One International, LLC

         1
           The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
         identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
         North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
         Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.

26329157.4
                  Case 20-11569-LSS      Doc 1    Filed 06/15/20   Page 19 of 21




             3.   The Debtor listed below is 100% owned by Alliance One International, LLC:

                     Alliance One North America, LLC

             4.   The Debtor listed below is 100% owned by Global Specialty Products, LLC:

                     GSP Properties, LLC




26329157.4
                         Case 20-11569-LSS             Doc 1      Filed 06/15/20        Page 20 of 21




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                     §
             In re:                                                  §      Chapter 11
                                                                     §
             PYXUS INTERNATIONAL, INC., et al.,1                     §
                                                                     §      Case No. 20-_______(__)
                                        Debtors.                     §
                                                                     §      (Joint Administration Requested)
                                                                     §
                                                                     §

             LIST OF EQUITY SECURITY HOLDERS FOR GSP PROPERTIES, LLC PURSUANT
                     TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 1007(a)(3)

              Name and Address of Interest
                                                          Kind of Interest            Percentage of Interest Held
                       Holder


              Global Specialty Products, LLC
                  7000 Hospitality Court                      Common                                100%
               Morrisville, NC 27560-8417




         1
           The Debtors in the Chapter 11 Cases, along with the last four digits of each Debtor’s United States federal tax
         identification number, are: Pyxus International, Inc. (6567), Alliance One International, LLC (3302), Alliance One
         North America, LLC (7908), Alliance One Specialty Products, LLC (0115) and GSP Properties, LLC (5603). The
         Debtors’ mailing address is 8001 Aerial Center Parkway, Morrisville, NC 27560-8417.
26337952.1
                               Case 20-11569-LSS                  Doc 1        Filed 06/15/20           Page 21 of 21




Fill in this information to identify the case:

Debtor name:        Pyxus International, Inc., et al.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known):
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Consolidated Corporate Ownership Statement and List of Equity Interest
                                                                Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       06/15/2020                      X /s/ Joel Thomas
                                                           Signature of individual signing on behalf of debtor

                                                            Joel Thomas
                                                            Printed name

                                                            Executive Vice President and Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
26335922.1
